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EXHIBIT “A”
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Recording Requested By:

Retum To:

American Home Mortgage .
520 Broadhollow Road

Melville, NY 11747

Prepared By:

Debra Michna

4275 Executive Square
Suite 700

La Jolla, CA

a2nat (Space Above This Line For Recording Data]

DEED OF TRUST

MIN 100024200012839748

DEFINITIONS

Words used in multiple sections of this document are defined below and other words are defined in Sections
4, 11, 13, 18, 20 and 21. Certain rufes regarding the usage of words used in this document are also provided
in Section 16.

(A) "Security Instrument" means this document, which is dated May 24, 2006 ,
together with all Riders to this document.
(B) "Borrower" is GUILLERMO A. MARTINEZ HAHENA, A SINGLE MAN

Borrower is the trustor under this Security Instrument.
(C) "Lender" is American Home Mortgage

Lender isa Corporation

organized and existing mder the lawsof State of New York

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Lender's address is 538 Broadhollow Rd, Melville, N¥ 11747
(D) "Trustee" is California Title Company

(E} "MERS” is Mortgage Electronic Registration Systems, Inc. MERS isa separate corporation that is acting
solely as a nominee for Lender and Lender's successors and assigns. MERS is the beneficiary under this
Security Instrument. MERS is organized and existing under the laws of Delaware, and has an address and
telephone number of P.O. Box 2026, Flint, M1 48501-2026, tel. (888) 679-MERS.

(F) "Note" means the promissory note signed by Borrower and dated May 24, 2006

The Note states that Borrower owes Lender One Hundred Eighty Five Thousand Five
Hundred and No/100 Dollars
(U.S. $285,500.00 ) plus interest. Borrower has promised to pay this debt in regular Periodic
Payments and to pay the debt in full not tater than June 1, 2036

{G) "Property" means the property that is described below under the heading “Transfer of Rights in the
Property."

(H) “Loan” means the debt evidenced by the Note, plus interest, any prepayment charges and tate charges
due under the Note, and all sums due under this Security Instrument, plus interest.

(D "Riders" means all Riders to this Security Instrument that are executed by Borrower, The following
Riders are to be executed by Borrower [check box as applicable):

Gx Adjustable Rate Rider [x ] Condominium Rider (_] Second Home Rider
[__] Balloon Rider [__] Planned Unit Development Rider [_] 1-4 Family Rider
[1 VA Rider L Biweekly Payment Rider [x] Other(s) [specify]

PREPAYMENT RIDER

‘intareast-Only Addendum to Adjustable Rata Rider
(J) “Applicable Law" means all controlling applicable federal, state and local statutes, regulations.
ordinances and administrative rules and orders (that have the effect of law) as well as ail applicable final,
non-appealable judicial opinions.
(K} "Community Association Dues, Fees, and Assessments” means all dues, fees, assessments and other
charges that are imposed on Borrower or the Property by a condominium association, homeowners
associalion or similar organization, .
(L) “Electronic Funds Transfer" means any transfer of funds, other than a transaction originated by check,
draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic instrument,
computer, or magnetic tape so as to order, instruct, or authorize a financial institution to debit or credit an
account. Such term includes, but is not limited to, point-of-sale transfers, automated teller machine
transactions, wansfers initiated by telephone, wire transfers, and automated clearinghouse transfers.
(M) "Escrow Items" teans those items that are described in Section 3.
(N) "Miscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid by
any third party (other than insurance proceeds paid under the coverages described in Section 5) for: (i)
damage to, or destruction of, the Property; Gi) condemnation or other taking of all or any part of the Property;
(iii) conveyance in Heu of condemnation; or (iv) misrepresentations of, or omissions as to, the value and/or
condition of the Property.
(O) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on, the
Loan.
(P} "Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument.

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(Q) "RESPA” means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq.) and its
implementing regulation, Regulation X (24 C.F.R. Port 3500), as they might be amended from time to time,
or any additional or successor Icgislation or regulation that governs the same subject matter. As used in this
Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard to a
“federally related mortgage loan" even if the Loan does not qualify as a “federally related mortguge loan"
under RESPA.

{R) “Successor in [Interest of Borrower” means any party that has taken title to the Property, whether or not
that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RIGHTS IN THE PROPERTY

The beneficiary of this Security Instrument is MERS (solely as nominee for Lender and Lender's successors
and assigns} and the successors and assigns of MERS. This Security Instrument secures to
Lender: (i) the repayment of the Loan, and all renewals, extensions and modifications of the
Nole; and (li) the performance of Borrower's covenants and agreements under this Security
Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to Trustee,
in trust, with power of sale, the following described property located in the
County of San Diego :

[Type of Recording Jurisdiction] {Name of Recording Jurisdiction)
LEGAL DESCRIPTION ATTACHED HERETO AND MADE A PART HEREOF

Parcel ID Number: 228-071-11-56 which currently has the address of
1051 Rock Springs Road #212 [Street]
Escondido (City) , California 92026 {Zip Code)

("Property Address");

TOGETHER WITH all the improvements now or hereafter erected on the property, and all easements,
appurtenances, and fixtures now or hereafter a part of the property. All replacements and additions shalj also
be covered by this Security Instrument. All of the foregoing is referred tp in this Security Instrument as the
“Property.” Borrower understands and agrees that MERS holds only legal title 10 the interests granted by
Borrower in this Security Instrument, but, if necessary to comply with law or custom, MERS (as nominee for
Lender and Lender's successors and assigns) has the right: to exercise any ar all of those interests, including,
but not limited to, the right to foreclose and sell the Property; and to take any action required of Lender
including, but not limited to, releasing and canceling this Security Instrument.

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
the right to grant and convey the Property and that the Property is unencumbered, except for encumbrances

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of record. Borrower warrants and will defend generally the title to the Property against all claims and
demands, subject to any encumbrances of record.

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNIFORM COVENANTS. Borrower and Lender covenant and agree as follows:

1, Payment of Principal, Interest, Escrow tems, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Nole. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due under the Note and this Security Instrument shall be made in U.S.
currency. However, if any check or other instrument received by Lender as payment under the Note or this
Security Instrument is returned to Lender unpaid, Lender may require that any or ail subsequent payments
due under the Note and this Security Instrument be made in one or more of the following forms, as selected
by Lender: (a} cash; (b} money order; (c} certified check, bank check, treasurer's check or cashier's check,
provided any such check is drawn upon an institution whose deposits are insured by a federal agency,
instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location as may be designated by Lender in accordance with the notice provisions in Section 15.
Lender may return any payment or partial payment if the payment or partial payments are insuffictent to bring
the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan current,
without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial payments in
the future, but Lender is not obligated to apply such payments at the time such payments are accepted, If each
Periodic Payment is applied as of its scheduled due date, then Lender need not pay interest on unapplied
funds. Lender may hold such unapplied funds until Borrower makes payment to bring the Loan current. If
Borrower does not do so within a reasonable period of time, Lender shall either apply such funds or retum
them to Borrower. If not applied earlier, such funds will be applied to the outstanding principal balance under
the Note immediately prior to foreclosure. No offset or claim which Borrower might have now or in the
future against Lender shall relieve Borrower from making payments due under the Note and this Security
Instrument or performing the covenants and agreements secured by this Security Instrument.

2. Application of Payments or Proceeds. Except as otherwise described in this Section 2, all payments
accepted and applied by Lender shall be applied in the following order of priority: (a) interest due under the
Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments shall be applied to
each Periodic Payment in the order in which it became due. Any remaining amounts shall be applied first to
late charges, second to any other amounts due under this Security Instrument, and then to reduce the principal
balance of the Note.

IF Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent pryment and the
late charge. If more than one Periodic Payment is outstanding, Lender may apply any payment received from
Borrower 10 the repayment of the Periodic Payments if, and to the extent that, each payment can be paid in
full. To the extent that any excess exists after the payment is applied to the full payment of one or more
Periodic Payments, such excess may be applied to any late charges duc. Voluntary prepayments shall be
applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under the
Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due under
the Note, until the Note is paid in full, a surn (the "Funds”) to provide for payment of amounts due for: (a)
taxes and assessments and other items which can attain priority over this Security Instrument as a lien
or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any;
(c} premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage Insurance
premiums in accordance with the provisions of Section 10. These items are called "Escrow Items.”
At origination or at any time during the term of the Loan, Lender may require that Community Association
Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and assessments shall
be an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to be paid under
this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives Borrower's
obligation to pay the Funds for any or all Escrow Items, Lender may waive Borrower's obligation to
pay to Lender Funds for any or alf Escrow Items at any time, Any such waiver may only be

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in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts
due for any Escrow Items for which payment of Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
Borrower's obligation to make such payments and to provide receipts shall for all purposes be deemed to be a
covenant and agreement contained in this Security Instrument, a5 the phrase "covenant and agreement” is
used in Section 9. If Borrawer is obligated to pay Escrow Items directly, pursuant to a waiver, and Borrower
faiis to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9 and pay such
amount and Borrower shall then be obligated under Section 9 to repay to Lender any such amount. Lender
may revoke the waiver as to any or all Escrow [tems at any time by a notice given in accordance with Section
15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in such amounts, that are then
required under this Section 3,

Lender may, at any time, collect and hold Funds in an amount (a} sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a Jender can
require under RESPA, Lender shall estimate the amount of Funds due on the basis of current deta and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency, instrumentality,
or entity (including Lender, if Lender is an institution whose deposits are so insured} or in any Federat Home
Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time specified under
RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually analyzing the
escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the Fumds and
Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing or Applicable
Law requires interest to be paid on the Funds, Lender shall not be required o pay Borrower any interest or
eamings on the Funds. Borrower and Lender can agree in writing, however, that interest shali be paid on the
Funds, Lender shall give io Borrower, without charge, an annual accounting of the Funds as required by
RESPA.

(f there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. If there is a shortage of Funds held in escrow, a5
defined under RESPA, Lender shali notify Borrower as required by RESPA, and Borrower shall pay io
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
monthly payments. If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make up
the deficiency in accordance with RESPA, but in no more than 12 monthly payments.

Upon payment in full of all sums secured by this Security Instrument, Lender shall promptly refund to
Borrower any Funds held by Lender,

4, Charges; Liens. Borrower shall pay all taxes, assessments, charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any. To the
extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable to
Lender, but only so long a5 Borrower is performing such agreement; (b) contests the lien in good faith by, or
defends against enforcement of the lien in, legal proceedings which in Lender's opinion operate to prevent the
enforcement of the lien while those proceedings arc pending, but only until such proceedings are concluded;
or (c} secures from the holder of the licn an agreement satisfactory to Lender subordinating the lien to this
Security Instrument. If Lender determines that any part of the Property is subject to a lien which can attain
priority over this Security Instrument, Lender may give Borrower a notice identifying the lien. Within 10

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days of the date on which that notice is given, Borrower shall satisfy the Hen or take one or more of the
actions set forth above in this Section 4.

Lender may require Borrower to pay a one-time charge for a real estate tax verification and/or reporting
service used by Lender in connection with this Loan.

§. Property Insurance. Borrower shall keep the improvements now existing or hereafter erected on the
Property insured against loss by fire, hazards included within the term "extended coverage," and any other
hazards including, but not limited to, earthquakes end floods, for which Lender requires insurance. This
insuxance shall be maintained in the amounts (including deductible levels) and for the periods that Lender
requires. What Lender requires pursuant to the preceding sentences can change during the term of the Loan.
The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender's right to
disapprove Borrower's choice, which right shall not be exercised unreasonably. Lender may require
Borrower to pay, in connection with this Loan, either: (a) 4 one-time charge for flood zone determination,
certification and tracking services: or (b) 8 one-time charge for flood zone determination and certification
services and Subsequent charges each time remappings or similar changes occur which reasonably might
affect such determination or certification. Borrower shal] also be responsible for the payment of any fees
imposed by the Federal Emergency Management Agency in connection with the review of any flood zone
determination resulting from an objection by Borrower.

if Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender's option and Borrower's expense, Lender is under no obligation to purchase any
particular type or amount of coverage. Therefore, such coverage shall cover Lender, but might or might not
protect Borrower, Borrower's equity in the Property, or the contents of the Property, against any risk, hazard
or Siability snd might provide greater or lesser coverage than was previously in effect, Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained. Any amounts disbursed by Lender under this Section 5 shail
become additional debt of Borrower secured by this Security Instrument. These amounts shall bear interest at
the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from Lender
to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender's
right to disapprove such policies, shall include a standard morigape clause, and shall name Lender as
mortgagee and/or as an additional loss payee and Borrower further agrees to generally assign rights to
insurance proceeds to the holder of the Note up to the amount of the outstanding loan balance, Lender shalt
have the right to hold the policies and renewal certificates. If Lender requires, Borrower shall promptly give
to Lender all receipts of paid premiums and renewal notices. If Borrower obtains any form of insurance
coverage, not otherwise required by Lender, for damage to, or destruction of, the Property, such policy shall
include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional loss payee
and Borrower further agrees to generally assign rights to insurance proceeds to the holder of the Note up to
the amount of ihe outstanding loan balance.

In the event of Joss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender may
make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree in
writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall be
applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender's security is not lessened. Buring such repair and restoration period, Lender shall have the right to
hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the work
has been completed to Lender's satisfaction, provided that such inspection shall be undertaken promptly.
Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of progress
payments as the work is completed. Unless an agreement is made in writing or Applicable Law requires
interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any interest or
eurnings on such proceeds. Fees for public adjusters, or other third parties, retained by Borrower shall
not be paid out of the insurance proceeds and shall be the sole obligation of Borrower. If the restoration
or repair is not economically feasible or Lender's security would be jessened, the insurance proceeds shail
be applied to the sums secured by this Security Instrument, whether or not then due, with

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the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
Section 2.

If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance claim
and related matters, ff Borrower does not respond within 30 days to a notice from Lender that the insurance
carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day period will
begin when the notice is given. In either event, or if Lender acquires the Property under Section 22 of
otherwise, Borrower hereby assigns to Lender (a) Borrower's cights to any insurance proceeds in an amount
nol to exceed the amounts unpaid under the Note or this Security Instrument, and (b) any other of Borrower's
rights (other than the right to any refund of uncarned premiums paid by Borrower) under all insurance
policies cavering the Property, insofar as such rights are applicable to the coverage of the Property. Lender
may use the insurance proceeds either to repair or restore the Property or to pay amounts unpaid under the
Noie or this Security Instrument, whether or not then due,

6. Occupancy, Borrower shall occupy, establish, and use the Property as Borrower's principal residence
within 60 days after the execution of this Security Instrument and shall continue to occupy the Property 5
Borrower's principal residence for at least one year after the date of occupancy, unless Lender otherwise
agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating circumstances
exist which are beyond Borrower's control.

7. Preservation, Maintenance and Protection of the Property; Inspections, Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the Property.
Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in order to prevent
the Property from deteriorating or decreasing in value due to its condition. Unless it is determined pursuant to
Section 5 that repair or restoration is not economically feasible, Borrower shall promptly repair the Property if
damaged to avoid further deterioration or damage. If insurance or condemnation proceeds are paid in
connection with damage to, or the taking of, the Property, Borrower shall be responsible for repairing or
restoring the Property only if Lender has released proceeds for such purposes. Lender may disburse proceeds
for the repairs and restoration in a single payment or in a series of progress payments as the work is
completed. If the insurance or condemnation proceeds are not sufficient to repair or restore the Property,
Borrower is not relieved of Borrawer's obligation for the completion of such repair or restoration.

Lender or its agent may make reasonable entries upon and inspections of the Property. Hf it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8, Borrower's Loan Application. Borrower shall be in default if, during the Loan application process,
Borrower or any persons or entities acting at the direction of Borrower or with Borrower's knowledge or
consent gave materially false, misleading, or inaccurate information or statements to Lender (or failed to
provide Lender with material information) in connection with the Loan. Material representations include, but
are not limited 10, representations concerning Borrower's occupancy of the Property as Borrower's principal
residence,

9, Protection of Lender's Interest in the Property and Rights Under this Security Instrument, If
(a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there is
a legal proceeding that might significantly affect Lender's interest in the Property and/or rights under this
Security Instrument (such as a proceeding in bankrupicy, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Security Instrument er to enforce laws or
regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender's interest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
the Property. Lender's actions can include, but are not limited to: (a) paying any sums secured by a lien which
has priority over this Security Instrument; (b} appearing in court; and (c) paying reasonable

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attorneys’ fees to protect its interest in the Property and/or rights under this Security Instrument, including its
secured position in a bankruptcy proceeding. Securing the Property includes, but is not limited to, entering the
Property to make repairs, change locks, replace or board up doors and windows, drain water from pipes,
eliminate building or other code violations or dangerous conditions, and have utilities turned on or off.
Although Lender may take action under this Section 9, Lender does not have to do so and is not under any
duty or obligation to do so. It is agreed that Lender incurs no liability for not taking any or all actions
authorized under this Section 9.

Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower
secured by this Security Instrument. These amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such interest, upon notice from Lender to Borrower requesting

AY MeN,
ey If this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the lease.
If Borrower acquires fee title to the Property, the leasehold and the fee title shal) not merge unless Lender
agrees to the merger in writing.

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage Insurance in effect. If, for any reason,
the Mortgage Insurance coverage required by Lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borrower was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain coverage
substantially equivalent to the Mortgage Insurance previously in effect, at a cost substantially equivalent to
the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate mortgage insurer
selected by Lender. If substantially equivalent Mortgage Insurance coverage is not available, Borrower shall
continue to pay to Lender the amount of the separately designated payments that were due when the insurance
coverage ceased to be in effect. Lender will accept, use and retain these payments as a non-refundable Joss
reserve in lieu of Mortgage Insurance. Such loss reserve shall be non-refundable, notwithstanding the fact that
the Loan is ultimately paid in full, and Lender shall not be required to pay Borrower any interest or earnings
on such loss reserve. Lender can no longer require loss reserve payments if Mortgage Insurance coverage (in
the amount and for the period that Lender requires) provided by an insurer selected by Lender again becomes
available, is obtained, and Lender requires separately designated payments toward the premiums for Mortgage
Insurance. If Lender required Mortgage Insurance as a condition of making the Loan and Borrower was
required to make separately designated payments toward the premiums for Mortgage Insurance, Borrower
shal! pay the premiums required to maintain Mortgage Insurance in effect, or to provide a non-refundable loss
reserve, until Lender's requirement for Mortgage Insurance ends in accordance with any written agreement
between Borrower and Lender providing for such termination or until termination is required by Applicable
Law. Nothing in this Section 10 affects Borrower's obligation to pay interest at the rate provided in the Note,

Mortgage Insurance reimburses Lender (or any entity that purchases the Note) for certain losses it may
incur if Borrower does not repay the Loan as agreed. Borrower is nat a party to the Mortgage Insurance.

Mortgage insurers evaluate their total risk on ali such insurance in force from time to time, and may
enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements are
on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to these
agreements. These agreements may require the mortgage insurer to make payments using any source of funds
that the mortgage insurer may have available (which may include funds obtained from Mortgage Insurance

remus),

P AS a result of these agreements, Lender, any purchaser of the Note, another insurer, any reisurer, any
other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that derive
from (or might be characterized as) a portion of Borrower's payments for Mortgage Insurance, in exchange
for sharing or modifying the mortgage insurer's risk, ar reducing losses, tf such agreement provides that an
affiliate of Lender takes a share of the insurer's risk in exchange for a share of the premiums paid to the
insurer, the arrangement is often termed “captive reinsurance." Further:

(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for
Mortgage Insurance, or any other terms of the Loan. Such agreements will not increase the amount
Borrower will owe for Mortgage Ensurance, and they will not entitle Borrower to any refund,

(b) Any such apreements will not affect the rights Borrower has - if any - with respect to the
Mortgage Insurance under the Homeowners Protection Act of 1998 or any other law. These rights may
include the right to receive certain disclosures, to request and obtain cancellation of the Mortgage

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Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a refund of any
Mortgage Insurance premiums that were unearned at the time of such cancellation or termination.

11, Assignment of Miscellaneous Proceeds; Forfeiture. All Miscellaneous Proceeds are hereby
assigned to and shall be paid to Lender,

If the Property is damaged, such Miscellaneous Proceeds shall be applied to restoration or repair of the
Property, if the restoration or repair is economically feasible and Lender's security is not lessened. During
such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds until
Lender has had an opportunity to inspect such Property to ensure the work has been completed to Lender's
satisfaction, provided that such inspection shall be undertaken promptly, Lender may pay for the repairs and
restoration in a single disbursement or in a series of progress payments as the work is completed. Unless an
agreément is made in writing or Applicable Law requires interest to be paid on such Miscellaneous Proceeds,
Lender shall not be required to pay Borrower any interest or earnings on such Miscellaneous Proceeds. If the
restoration or repair is nat economically feasible or Lender's security would be lessened, the Miscellaneous
Proceeds shall be applied ta the sums secured by this Security Instrument, whether or not then due, with the
excess, if any, paid to Borrower, Such Miscellaneous Proceeds shall be applied in the order provided for in
Section 2.

En the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous Proceeds
shall be applied to the sums secured by this Security Instrument, whether or not then duc, with the execss, if
any, paid to Borrower.

In the event Of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is equal to or greater
than the amount of the sums secured by this Security Instrument immediately before the partial taking,
destruction, or Joss in value, unless Borrower and Lender otherwise agree in writing, the sums secured by this
Security Instrument shal! be reduced by the amount of the Miscellaneous Proceeds multiplied by the
following fraction: (2) the total amount of the sums secured immediately before the partial taking, destruction,
or loss in value divided by (b) the fair market value of the Property immediately before the partial taking,
destruction, or loss in value. Any balance shall be paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market:
value of the Property immediately before the partial taking, destruction, or loss in value is less than the
amount of the sums secured immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Miscellaneous Proceeds shall be applied to the sums
. Secured by this Security Instrument whether or not the sums are then due,

If the Property is abandoned by Borrower, or if, after notice by Lender to Borrawer that the Opposing
Party (as defined in the next sentence) offers to make an award to settle a claim for damages, Borrower fails
to respond to Lender within 30 days after the date the notice is given, Lender is authorized to collect and
apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the sums secured by this
Security Instrument, whether or not then due, "Opposing Party” means the third party that owes Borrower
Miscellaneous Proceeds or the party against whom Borrower has a right of action in regard to Miscellaneous
Proceeds.

Borrower shall be in default if any action or proceeding, whether civil or criminal, is begun that. in
Lentier's judgment, could result in forfeiture of the Property or other material impairment of Lender's interest
in the Property or rights under this Security Instrument. Borrower can cure such a default and, if acceleration
has occurred, reinstate as provided in Section 19, by causing the action or proceeding to be dismissed with a
ruling that, in Lender’s judgment, precludes forfeiture of the Property or other material impairment of
Lender's interest in the Property or rights under this Security Instrument, The proceeds of any award or claim
for damages that are attributable to the impairment of Lender's interest in the Property are hereby assigned
and shall be paid to Lender.

All Miscellaneous Proceeds that are not applied to restoration or repair of the Property shall be applied
in the order provided for in Section 2.

12. Borrower Not Released; Forbearance By Lender Not a Waiver. Extension of the time for
payment ar modification of amortization of the sums secured by this Security Instrument granted by Lender
to Borrower or any Successor in Interest of Borrower shall not operate to release the liability of Borrower or
any Successors in Interest of Borrower. Lender shall not be required to commence proceedings against any
Successor in Interest of Borrower or to refuse to extend time for payment or otherwise modify amortization

of the sums secured by this Security Instrument by reason of any demand made by the original Borrower or
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any Successors in Interest of Borrower. Any forbearance by Lender in exercising any right or remedy
including, without limitation, Lender's acceptance of payments from third persons, entities or Successors in
Interest of Borrower or in amounts Jess than the amount then due, shall not be a waiver of or preclude the
exercise of any right or remedy,

13. Joint and Several Liability; Co-signers; Successors and Assigns Bound. Borrower covenants and
agrees that Borrower's obligations and liability shall be joint and several, However, any Borrower who
co-signs this Security Instrument but does not execute the Note {a "co-signer"): (a) is co-signing this
Security Instrument only to mortgage, grant and convey the co-signer's interest in the Property under the
terms of this Security Instrument; (b) is not personally obligated to pay the sums secured by this Security
Instrument, and (c) agrees that Lender and any other Borrower can agree to extend, modify, forbear or make
any accommodations with regard to the terms of this Security Instrument or the Note without the co-signer’s
consent.

Subject to the provisions of Section 18, any Successor in Interest of Borrawer who assumes Borrower's
obligations under this Security Instrument in writing, and is approved by Lender, shall obtain all of
Borrower's rights and benefits under this Security Instrument. Borrower shall not be released from
Borrower's obligations and lability under this Security Instrument untess Lender aprees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (except as provided in Section
20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, for the purpose of protecting Lender's interest in the Property and rights under this
Security Instrument, including, but not limited to, attorneys’ fees, property inspection and valuation fees. In
regard to any other fees, ihe absence of express authority in this Security Instrument to charge a specific fee
to Borrower shail not be construed as a prohibition on the charging of such fee. Lender may not charge fees
that are expressly prohibited by this Security Instrument or by Applicable Law.

If the Loan is subject to a law which sets maximum loan charges, and that Jaw is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, then: (a) any such foan charge shali be reduced by the amount necessary to reduce the charge
to the permitted limit; and {b) any sums already collected from Borrower which exceeded permitted fimits
will be refunded to Borrower. Lender may choose to make this refund by reducing the principal owed under
the Note or by making a direct payment to Borrower. If a refund reduces principal, the reduction will be
Treated as a partial prepayment without any prepayment charge (whether or not a prepayment charge is
provided for under the Note). Borrower's acceptance of any such refund made by direct payment to Borrower
will constitute a waiver of any right of action Borrower might have arising owt of such overcharge.

15. Notices. All notices given by Borrower or Lender in connection with this Security Instrument must
be in writing. Any notice to Borrower in connection with this Security Instrument shall be deemed to have
been given to Borrower when mailed by first class mail or when actually delivered to Borrower's notice
address if sent by other means. Notice to any one Borrower shall constitute notice to all Borrowers unless
Applicable Law expressly requires otherwise. The notice address shall be the Property Address umless
Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly notify
Lender of Borrower's change of address. If Lender specifies a procedure for reporting Borrower's change of
address, then Borrower shall anly report a change of address through that specified procedure. There may be
only one designated notice address under this Security Instrument at any one time. Any notice to Lender shall
be given by delivering it or by mailing it by first class mail to Lender's address stated hercin unless Lender
has designated another address by notice to Borrower. Any notice in connection with this Security Instrument
shall not be deemed to have been given to Lender until actually received by Lender. If any notice required by
this Security Instrument is also required under Applicable Law, the Applicable Law requirement will satisfy
the corresponding requirement under this Security Instrument.

16. Governing Law; Severability; Rules of Construction. This Security Instrument shall be governed
by federal law and the law of the jurisdiction in which the Property is located. All rights and obligations
contained in this Security Instrument are subject to any requirements and limitations of Applicable Law.
Applicable Law might explicitly or implicitly allow the parties to agree by contract or it might be silent, but
such silence shall not be construed as a prohibition against agreement by contract. In the event that any
provision or clause of this Security Instrument or the Note conflicts with Applicable Law, such conflict

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shall not affect other provisions of this Security Instrument or the Note which can be given effect without the
conflicting provision.

As used in this Security Instrument: (a) words of the masculine gender shail mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word “may” gives sole discretion without any obligation to take
any action.

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this Security Instrument.

18. Transfer of the Property or a Beneficial Interest in Borrower. As used in this Section 18,
“Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited to,
those beneficial interests ransferred in a bond for deed, contract for deed, installment sales contract or escrow
agreement, the intent of which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or wansferred (or if Borrower is
not a natural person and a beneficial interest in Borrawer is sold or transferred) without Lender's prior written
consent, Lender may require immediate payment in full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender if such exercise is prohibited by Applicable Law.

If Lender exercises this option, Lender shail give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is piven in accordance with Section 15
within which Borrower must pay all sums secured by this Security Instrument. If Borrower fails to pay these
sums prior to the expiration of this period, Lender may invoke any remedies permilted by this Security
Instrument without further notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceleration. If Borrower meets certain conditions,
Borrower shall have the right to have enforcement of this Security Instrument discontinued at any time prior
to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in this
Security Instrument; (b) such other period as Applicable Law might specify for the termination of Borrower's
right to reinstate; or (c} entry of a judgment enforcing this Security Instrument. Those conditions are that
Borrower: (a) pays Lender all sums which then would be due under this Security Instrument and the Note as
if no acceleration had occurred; (b) cures any default of any other covenants or agreements; (c) pays all
expenses incurred in enforcing this Security Instrument, including, but not limited to, reasontble attorneys’
fees, property inspection and valuation fees, and other fees incurred for the purpose of protecting Lender's
interest in the Property and rights under this Security Instrument; and (d) takes such action es Lender may
reasonably require to assure that Lender's interest in the Property and rights under this Security Instrument,
and Borrower's obligation to pay the sums secured by this Security Instrument, shall continue unchanged.
Lender may require that Borrower pay such reinstatement sums and expenses in one or more of the following
forms, a5 selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, treasurer's check or
cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a fecteral
agency, instrumentality or entity; or (d) Electronic Funds Transfer. Upon reinstatement by Borrower, this
Security Instrument and obligations secured hereby shall remain fully effective as if no acceleration had
occurred. However, this right to reinstate shall not apply in the case of acceleration under Section 18,

20, Sale of Note; Change of Loan Servicer; Notice of Grievance, The Note or a partial interest in the
Note (together with this Security Instrument) can be sold one or more times without prior notice to Borrower.
A sale might result in a change in the entity (known as the “Loan Servicer”) that collects Periodic Payments
due under the Note and this Security Instrument and performs other mortgage loan servicing obligations
under the Note, this Security Instrument, and Applicable Law. There also might be one or more changes of
the Loan Servicer unrelated to a sale of the Note. If there is a change of the Loan Servicer, Borrower
will be piven written notice of the change which will state the mame and address of the new Loan
Servicer, the address to which payments should be made and any other information RESPA

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requires in connection with a notice of transfer of servicing. If the Note is sold and thereafter the Loan is
serviced by a Loan Servicer other than the purchaser of the Note, the mortgage !oan servicing obligations to
Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchaser.

Neither Borrower nor Lender may commence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party's actions pursuant to this Security
Instrument or that alleges that the other party has breached eny provision of, or any duty owed by reason of,
this Security Instrument, until such Borrower or Lender has notified the other party (with such notice given in
compliance with the requirements of Section 15) of such alleged breach and afforded the other party hereto a
reasonable period after the giving of such notice to take corrective action. If Applicable Law provides a time
period which must elapse before certain action can be taken, that time period will be deemed to be reasonable
for purposes of this paragraph. The notice of acceleration and opportunity to cure given to Borrower pursuant
to Section 22 and the notice of acceleration given to Borrower pursuant to Section 18 shali be deemed to
satisfy the notice and opportunity to take corrective action provisions of this Section 20.

23. Hazardous Substances. As used in this Section 2]: (a) “Hazardous Substances" are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental Law and the
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides and
herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials; (b)
"Environmental Law" means federal laws and laws of the jurisdiction where the Property is focated that relate
to health, safety or environmental protection; (c) "Environmental Cleanup" includes any response action,
remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental Condition"
means 4 condition that can cause, contribute to, or otherwise tigger an Environmental Cleanup.

Borrower shall not cause or permit the presence, usc, disposal, storage, or release of any Hazardous
Substances, or threaten to release any Hazardous Substances, ‘on or in the Property. Borrower shall not do,
nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
Law, (hb) which creates an Environmental Condition, or (c) which, due to the presence, use, or release of a
Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding two
sentences shall not apply to the presence, use, or storage on the Property of small quantities of Hazardous
Substances that are generally recognized co be appropriate to normal residential uses and to maintenance of
the Property (including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, claim, demand, lawsuit or
other action by any governmental or regulatory agency or private party involving the Property and any
Hazardovs Substance or Environmental Law of which Borrower has actual knowledge, (b> any
Environmental Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
felease of any Hazardous Substance, and (¢) any condition caused by the presence, use or release of a
Hazardous Substance which adversely affects the value of the Property. If Borrower Jearns, or is notified by
any governmental or regulatory authority, or any private party, that any removal or other remediation of any
Hazardous Substance affecting the Property is necessary, Borrower shal] promptly take all necessary remedial
actions in accordance with Environmental Law. Nothing herein shall create any obligation on Lender for an
Environmental Cleanup.

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NON-UNIFORM COVENANTS. Borrower and Lender further covenant and agree as follows:

22. Acceleration; Remedies. Lender shall pive notice to Borrower prior to acceleration following
Borrower's breach of any covenant or agreement in this Security Instrument (but not prior to
acceleration under Section 18 unless Applicable Law provides otherwise). The notice shail specify: (a)
the default; (b) the action required te cure the defeult; (c) o date, not less than 30 days from the date
the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
default on or before the date specified in the notice may result in acceleration of the sums secured by
this Security Instrument and sale of the Property. The notice shall further inform Borrower of the
right to reinstate after acceleration and the right to bring a court action to assert the non-existence of a
default or any other defense of Borrower to acceleration and sale. If the default is not cured on or
hefore the date specified in the notice, Lender al its option may require immediate payment in full of
all sums secured by this Security Instrument without further demand and may invoke the power of
sale and any other remedies permitted by Applicable Law, Lender shall be entitled to collect all
expenses incurred in pursuing the remedies provided in this Seclion 22, including, but not limited to,
reasonable attorneys’ fees and costs of title evidence.

If Lender invokes the power of sale, Lender shall execute or cause Trustee to execute a written
notice of the occurrence of an event of default and of Lender's election to cause the Property to be
sold. Trustee shall cause this notice to be recorded in each county in which any part of the Property is
located. Lender or Trustee shall mail copies of the notice as prescribed by Applicable Law to Borrower
and to the other persons prescribed by Applicable Law. Trustee shall give public notice of sale to the
persons and in the manner prescribed by Applicable Law. After the time required by Applicable Law,
Trustee, without demand on Borrower, shall sell the Property at public auction to the highest bidder at
the time and place and under the terms designated in the notice of sale in one or more parcels and in
any order Truslee determines. Trustee may postpone sale of all or any parcel of the Property by public
announcement at the time and place of any previously scheduled sale. Lender or its designee may
purchase the Property at any sale.

Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any
covenant or warranty, expressed or implied. The recitals in the Trustee's deed shall be prima facie
evidence of the truth of the statements made therein. Trustee shall apply the proceeds of the sale in the
following order: (a) to all expenses of the sale, including, but not limited to, reasonable Trustee's and
attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the person or
persons legally entitled to it.

23, Reconveyance. Upon payment of all sums secured by this Security Instrument, Lender shall request
Trustee 10 reconvey the Property and shall surrender this Security Instrument and all notes evidencing debt
secured by this Security Instrument to Trustee. Trustee shall reconvey the Property without warranty to the
person Or persons legally entitled te it. Lender may charge such person or persons a reasonable fee for
reconveying the Property, but only if the fee is paid to a third party (such as the Trustee) for services
rendered and the charging of the fee is permitted under Applicable Law. 1f the fee charged does not exceed
the fee set by Applicable Law, the fee is conclusively presumed to be reasonable,

24, Substitute Trustee. Lender, at its option, may from time to time appoint a successor trustee to any
Trustee appointed hereunder by an instrument executed and acknowledged by Lender and recorded in the
office of the Recorder of the county in which the Property is located. The instrument shall contain the name
of the original Lender, Trustee and Borrower, the book and page where this Security Instrument is recorded
and the name and address of the successor trustee. Without conveyance of the Property, the successor trustee
shall succeed to al! the title, powers and duties conferred upon the Trustee herein and by Applicable Law,
This procedure for substitution of trustee shall govern to the exclusion of all other provisions for substicution.

25, Statement of Obligation Fee. Lender may collect a fee not to exceed the maximum amount
permitted by Applicable Law for furnishing the statement of obligation as provided by Section 2943 of the
Civil Code of California,

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BY SIGNING BELOW, Borrower accepts and agrees io the terms and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.

Witnesses:

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GUILLERMO A. MARTINEZ BAHENA -Borrower

(Seal)

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GUILLERMG A. MARTINEZ BAHENA |

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(or proved to me on the basis of satisfactory evidence) to be the persopfs)“whose name(s? is/are subscribed to
the within instrument and acknowledged to me that (he/she/they executed the same in(hisfhentheir authorized
capacity¢es}-and that by bisfhertheir signaturefs) on the instrument the person{sy'or the entity upon behalf of
which the persontsy ¢ acted, executed the insuwrument.

WITNESS my hand and official seal.

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CONDOMINIUM RIDER

THIS CONDOMINIUM RIDER is made this 24th dayof May, 2006 '
and is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust, or
Security Deed {the "Security Instrument") of the same date given by the undersigned (the “Borrower") to
secure Borrower's Note to American Home Mortgage

(the
“Lender") of the same date and covering the Property described in the Security Instrument and located at:
1051 Rock Springs Road #212, Escondido, CA 92026

[Property Address]

The Property includes a unit in, together with an undivided interest in the common elements of, a
condominium project known as:
Rock Spring West

(Name of Condominium Project]
{the “Condominium Project"). If the owners association or other entity which acts for the Condominium
Project (the “Owners Association") holds title to property for the benefit or use of its members or
shareholders, the Property also includes Borrower's interest in the Owners Association and the uses, proceeds
and benefits of Borrower's interest.

CONDOMINIUM COVENANTS. In addition to the covenants and agreements made in the Security
Instrument, Borrower and Lender further covenant and agree as follows:

A. Condominium Obligations. Borrower shall perform all of Borrower's obligations under the
Condominium Project's Constituent Documents. The "Constituent Documents" are the: (i) Declaration or any
other document which creates the Condominium Project; (fi} by-laws; (iii) code of regulations; and (iv) other
equivalent documents. Borrower shall promptly pay, when due, all dues and assessments imposed pursuant to
the Constituent Documents.

B. Property Insurance. So long as the Owners Association maintains, with a generally accepted
insurance carrier, a "master" or "blanket" policy on the Condominium Project which is satisfactory to Lender
.and which provides insurance coverage in the amounts (including deductible levels), for the periods, and
against loss by fire, hazards included within the term “extended coverage," and any other hazards, including,
but not limited to, earthquakes and floods, from which Lender requires insurance, then: (i) Lender waives the

boc =#:316681 APPL #:0001283974

MULTISTATE CONDOMINIUM RIDER -Single Family- Fannie Mae/Freddie Mac UNIFORM INSTRUMENT
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provision in Section 3 for the Periodic Payment to Lender of the yearly premium installments for property
insurance on the Property; and (ii) Borrower's obligation under Section 5 to maintain property insurance
coverage on the Property is deemed satisfied to the extent that the required coverage is provided by the
Owners Association policy.

What Lender requires as a condition of this waiver can change during the term of the Joan,

Borrower shall give Lender prompt notice of any japse in required property insurance coverage
provided by the master or blanket policy.

In the event of a distribution of property insurance proceeds in lieu of restoration or repair following a
loss to the Property, whether to the unit or ta common elements, any proceeds payable to Borrower are
hereby assigned and shall be paid to Lender for application to the sums secured by the Security Instrument,
whether or not then due, with the excess, if any, paid to Borrower.

C. Public Liability Insurance. Borrower shall take such actions as may be reasonable to insure that the
Owners Association maintains a public liability insurance policy acceptable in form, amount, and extent of
coverage to Lender. ‘

D. Condemnation. The proceeds of any award or clairt for damages, direct or consequential, payable to
Borrower in connection with any condemnation or other taking of all or any part of the Property, whether of
the unit or of the common elements, or for any conveyance in lieu of condemnation, are hereby assigned and
Shall be paid to Lender. Such proceeds shall be applied by Lender to the sums secured by the Security
Instrument as provided in Section 11.

E. Lender's Prior Consent. Borrower shall not, except after notice to Lender and with Lender's prior
written consent, either partition or subdivide the Property or consent to: (i) the abandonment or termination of
‘the Condominium Project, except for abandonment or termination required by law in the case of substantial
destruction by fire or other casualty or in the case of a taking by condemnation or eminent domain; (ii) any
amendment to any provision of the Constituent Documents if the provision is for the express benefit of
Lender; (iii) termination of professional management and assumption of self-management of the Owners
Association; or (iv) any action which would have the effect of rendering the public liability insurance
coverage maintained by the Owners Association unacceptable to Lender,

F. Remedies. If Borrower does not pay condominium dues and assessments when due, then Lender may
pay them. Any amounts disbursed by Lender under this paragraph F shall become additional debt of
Borrower secured by the Security Instrument. Unless Borrower and Lender agree to other terms of payment,
these amounts shall bear interest from the date of disbursement at the Note rate and shall be payable, with
interest. upon notice from Lender to Borrower requesting payment.

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BY SIGNING BELOW, Borrower accepts and aprees to the terms and provisions contained in this
Condominium Rider.

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INTEREST-ONLY ADDENDUM
ADJUSTABLE RATE RIDER

THIS INTEREST-ONLY ADDENDUM is made this 24th = dayof_ ss May
2006, and is incorporated into and shall be deemed to amend and supplement the Adjustable Rate Note (the
“Note”) and the Mortgage, Deed of Trust, or Security Deed (the “Security Instrument”) of the same date given by
the undersipned (“Borrower”) to secure Borrower's Adjustable Rate Note (the “Note") to Amexican Home

Mortgage ("Lender") of the same date and covering the property
described in the Security Instrument and located at: 1041_Rack springs noad #212. Racandida,

CA 92096
[Property Address]

THIS ADDENDUM SUPERSEDES Section 3(A) and (B), and adds Section 4{G) of the Note. Section 4C of

the Note is subject to the new section 4(G) below. None of the other provisions of the Note are changed by this
addendum.

3 PAYMENTS
(A) Time and Place of Payments
1 will make a payment on the first day of every month beginning Tuly 1, 2006
Before the First Principal and Interest Payment Due Date as described in Section 4 of this Note, my payment wil

consist only of the interest duc on the unpaid principal balance of this Note. Thereafter, I will pay principal and
interest by making a payment every month as provided below.

I will make my monthly payments of principal and interesi beginning on the First Principal and Interest
Payment Due Date as describe in Section 4 of this Note. I will make these payments every month until T have paid
all of the principal and interest and any other charges described below that 1 may owe under this Note. Each monthly
payment will be applied as of its scheduled due date, and if the payment includes both principal and interest, it will
be applied to interest before Principal, If, on dune 1, 2036 , 1 still owe amounts under this
Note, ! will pay those amounts in full on that date, which is called the “Maturity Date.”

I will make my monthly payments at: -
or ata different place if required by the Note Holder.

(B) Amount of My Initial Monthly Payments

My monthly payment will be in the amount of U.S. § 1,178.70 before the First Principal
and Interest Payment Due Date, and thereafter will be in amount sufficient to repay the principal and interest at the
rate determined as described in Section 4 of this Note in substantially equal installments by the Maturity Date. The
Note Holder wil! notify me prior to the date of change in monthly payment.

4. ADJUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANGES
(G) Date of First Principal and Interest Payment

The date of my first payment consisting of both principal and interest on this Note (the “First Principal and
interest Payment Due Date’} shall be = Taty 1, 2016

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(T5} Incerest-Only Rider By: ‘ Qe ta. Ato,

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BY SIGNING BELOW, Borrower accepis and agrees to the terms and covenants contained in this Interest-Only

Addendum.

GUILLERMO A. MARTINEZ BAHENA ‘Borrower

(Seal)

‘Borrower

(Seal)

-Borrower

(Seal)

-Borrower

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-Borrower

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Loan #: 0001283974
PREPAYMENT RIDER TO SECURITY INSTRUMENT

THIS PREPAYMENT RIDER is made this 24th — of_ May , 2006, and
is incorporated into and shall be deemed to amend and supplement the Mortgage, Deed of Trust or
Security Deed (the "Security Instrument") of the same date given by the undersigned (the "Borrower")
to secure Borrower's Noteto American Homa Mortgage

(the “Lender’)

of the same date and covering the Property described in the Security Instrument and located at:

1051 Rock Springs Road #212, Escondido, CA 92026

{Property Address]

PREPAYMENT COVENANTS. In addition to the covenants and agreements made in the
Security Instrument, Borrower and Lender further covenant and agree as follows:

I have the right to make payments of principal at any time before they are due. A
prepayment of all of the unpaid principal is known as a "full prepayment." A prepayment of
only part of the unpaid principal is known as a "partial prepayment."

Except as provided below, 1 may make a full prepayment or a partial prepayment at any
time without paying any penalty. If withio the first two (__2__) year(s), I may make a
partial prepayment or partial prepayments of less than twenty percent (20%) of the original
principal amount in a twelve month period, I will not pay a prepayment penalty. However, if
within the first two (___ 2 ) year(s), I may make a full, partial prepayment or partial
prepayments of more than twenty percent (20%) of the original principal amount in a twelve
month period, I will pay a prepayment charge in an amount equal to the payment of six (6)
months advance interest on the amount prepaid which is in excess of twenty percent (20%) of
the original principal amount in that twelve month period,

If I make a partial prepayment equal to one or more of my monthly payments, the due
date of my next scheduled monthly payment may be advanced no more than one month. If I
make a partial prepayment in any other amount, I must still make all subsequent monthly
payments as scheduled.

NOTICE TO THE BORROWER

Do not sign this Prepayment Rider before you read it. This Prepayment Rider provides for the
payment of a penalty if you wish to repay the loan prior to the date provided for repayment in
the Note.

Multi-State Prepayment Rider AHM-20038(MULT)) (0705}
(ARM 3-05)
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Case 07-11047-CSS Doc 6158-4 Filed 09/30/08 Page 23 of 30

BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in

this Prepayment Rider,

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GUILLERMO A. MARTINEZ BAHENA

Multi-State Prepayment Rider
(ARM 3-05)

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ADJUSTABLE RATE RIDER
(4-Month LIBOR Index - Rate Caps)
(Assumable during Life of Loan) (First Business Day of Preceding Month Lookback)

THIS ADJUSTABLE RATE RIDER is made this 24th day of May, 2006
and is incorporated into and shall be deemed to amend and supplement the Mortgage,
Deed of Trust, or Security Deed (the “Security [nstrument"} of the same date given by the
undersigned = (the “Borrower") (to secure the Borrower's Adjustable Rate Note (the "Note"} to
American Home Mortgage

*

(the “Lender") of the same date and covering the property deseribed in the Security
Instrument and located at:
1051 Rock Springs Road #212, Escondido, CA 92026

[Property Address]

THE NOTE CONTAINS PROVISIONS ALLOWING FOR CHANGES IN THE
INTEREST RATE AND THE MONTHLY PAYMENT. THE NOTE LIMITS THE
AMOUNT THE BORROWER'S INTEREST RATE CAN CHANGE AT ANY
ONE TIME AND THE MAXIMUM RATE THE BORROWER MUST PAY.

ADDITIONAL COVENANTS. In addition to the covenants and agreements made in the
Security Instrument, Borrower and Lender further covenant and agree as follows:

A. ENTEREST RATE AND MONTHLY PAYMENT CHANGES
The Note provides for an initial interest rate of 7.625 %. The Note
provides for changes in the interest rate and the monthly payments, as follows:

4. INTEREST RATE AND MONTHLY PAYMENT CHANGES

(A) Change Dates

The interest rate J will pay may change on the first day of dune, 2011 '
and may change on that day every sixth month thereafler, Each date on which my interest
rate could change is called a "Change Date.”

BOC #:319901 APPL #:0001283974

MULTISTATE ADJUSTABLE RATE RIDER 6-Month LIBOR Index (Assumable during
Life of Loan} (First Business Day Lookback) - Single Family - Freddie Mac UNIFORM

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(B) The Index

Beginning with the first Change Date, my interest rate will be based on an Index. The
“Index” is the six month London Interbank Offered Rate ("LIBOR") which is the average of
interbank offered rates for six-month W.§. dollar-denominated deposits in the London
market, as published in The Wal! Street_Journal_. The most recent Index figure available as
of the First business day of the month immediately preceding the month in which the Change
Date occurs is called the “Current Index." :

If the Index is no longer available, the Note Holder will choose a new index which is
based upon comparable information. The Note Holder will give me notice of this choice,

(C) Calculation of Changes

Before each Change Date, the Note Holder will calculate my new interest rate by
adding Two and One Quarter
percentage point(s) ( 2.250 %) to the Current Index. The Note Holder will then
round the result of this addition to the nearest one-¢ighth of one percentage point (0.125%).
Subject to the limits stated in Section 4(D) below, this rounded amount will be my new
interest rate unti] the next Change Date,

The Note Holder will then determine the amount of the monthly payment that would be
sufficient to repay the unpaid principal that [am expected to owe at the Change Date in full
on the maturity date at my new interest rate in substantially equal payments, The result of
this calculation will be the new amount of my monthly payment.

{D) Limits on Interest Rate Changes
The interest rate lam required’ to pay at the first Change Date will not be greater than

12.625 % of less than 2.625 %. Thereafter, my interest rate will
never be increased or decreased on any single Change Date by more than
one percentage point(s) ( 1.000 %) from the rate of

interest Ihave been paying for the preceding six months. My interest rate will never be
greater than 12.625 %.

(E) Effective Date of Changes

My new interest rate will become effective on each Change Date. Iwill pay the amount
of my new monthly payment beginning on the first monthly payment date after the Change
Date until the amount of my monthly payment changes again,

(F) Notice of Changes

The Note Holder will deliver or mail to me a2 notice of any changes in my interest rate
and the amount of my monthly payment before the effective date of any change. The notice
will include information required by jaw to be given to me and also the title and telephone
number of a person who will answer any question I may have repardine the notice.

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B. TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN BORROWER
Section 18 of the Security instrument is amended to read as follows:

Transfer of the Property or a Beneficial Interest in Borrower, AS used in
this Section 18, “Interest in the Property" means any legal or beneficial interest in
the Property, ineluding, but not limited to, those beneficial interests transferred ina
bond for deed, contract for deed, installment sales contract or escrow agreement,
the intent of which is the transfer of title by Borrower at a future dete to a
purchaser.

Hf al) or any part of the Property or any Interest in the Property is sold or
transferred (or if Borrower is not a natural person and a beneficial interest in
Borrower is sold or transferred) without Lender's prior written consent, Lender, may
require immediate payment in Full of all sums secured by this Security Instrument.
However, this option shall not be exercised by Lender ifsuch exercise is prohibited -
by Applicable Law, Lender also shall not exercise this option if: (a) Borrower
causes to be submited to Lender information required by Lender to evaluate the
intended transferee as ifa new Joan were being made to the transferee; and (b)
Lender reasonably determines that Lender's security will not be impaired by the
loan assumption and that the risk of a breach of any covenant orf agreement in this
Security {nstrument is acceptable to Lender.

To the extent permitted by Applicable Law, Lender may charge a reasonable
fee as a condition to Lender's consent to the loan assumption. Lender may also
tequire the transferee to sign an assumption agreement thet is acceptable to
Lender and that obligates the transferee to keep all the promises and agreements
made in the Note and in this Security Instrument. Borrower will continue to be
obligated under the Note and this Security Instrument unless Lender releases
Borrower in writing.

If Lender exercises the option to require immediate payment in full, Lender
shall give Borrower notice of acceleration, The notice shall provide a period of not
less than 30 days from the date the notice is given im accordance with Section 15
within which Borrower must pay all sums secured by this Security instrument. If
Borrower fails to pay these sums prior to the expiration of this period, Lender may
invoke any remedies permitted by this Security Instrument without further notice or
demand on Borrower.

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BY SIGNING BELOW, Borrower accepts and agrees io the terms and covenants
contained in this Adjustable Rate Rider,

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GUILLERMO A. MARTINE? BAHEN-Borrower -Borrower
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-Borrower -Borrower
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ADDENDUM TO ADJUSTABLE RATE RIDER

This addendum is made May 24th, 2006 and is ~

incorporated into and deemed to amend and supplement the Adjustable Rate Rider of the
same date.

The property covered by this addendum is described in the Security Instrument
and located at:

1051 Rock Springs Road #212. Escondido, CA 92026

AMENDED PROVISIONS
In addition to the provisions and agreements made in the Security Instrument,
I/we further covenant and agree as follows:

ADJUSTABLE INTEREST RATE AND MONTHLY PAYMENT CHANGES

Limits on Interest Rate Changes

The interest rate I am required to pay at the first Change Date will not be greater
than _12.625% or less than 2.625 %, Thereafter, my adjustable interest rate will never
be increased or decreased on any single Change Date by more than 1-000 percentage
point(s) (_+-9°° %) from the rate of interest I have been paying for the preceding six (6)
months. My interest rate will never be greater than 12.625%. My interest rate will never
be less than 2.250 %,

TRANSFER OF THE PROPERTY OR A BENEFICIAL INTEREST IN
BORROWER

Uniform Covenant 18 of the Security Instrument is amended to read as follows:

Transfer of the Property or a Beneficial Interest in Borrower. As used in this
Section 18, “Interest in the Property” means any legal or beneficial interest in the
Property, including, but not limited to, those beneficial interests transferred in a bond for
deed, contract for deed, installment sales contract or escrow agreement, the intent of
which is the transfer of title by Borrower at a future date to a purchaser.

If all or any part of the Property or any Interest in the Property is sold or
transferred (or if Borrower is not a natural person and a beneficial interest in Borrower is
sold or transferred) without Lender’s prior written consent, Lender may require
immediate payment in full of all sums secured by this Security Instrument. This loan is
not assumable. However, this option shall not be exercised by Lender if such exercise is
prohibited by Applicable Law.

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If Lender exercises this option, Lender shall give Borrower notice of acceleration.
The notice shall provide a period of not Jess than 30 days from the date the notice is given
in accordance with Section 15 within which Borrower must pay all sums secured by this
Security Instrument. If Borrower fails to pay these sums prior to the expiration of this
period, Lender may invoke any remedies permitted by this Security Instrument without
further notice or demand on Borrower.

To the extent the provisions of this addendum conflict with the provisions of the
Nate, Security Instrument or Adjustable Rate Rider, this Addendum shall control.

In Witness Thereof, Trustor has executed this addendum.

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May 24, 2006 Fvvhig Hcl ” Babe

pate Borrower Signature GUILLERMO A. MARTINEZ BAHENA

1201 LIBOR Addendum to Rider
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Exhibit “A”

A CONDOMINIUM COMPOSED OF:

INTEREST |:

AN UNDIVIDED 1/86" APPURTENANT FRACTIONAL INTEREST IN AND TO LOT | OF ESCONDIDO TRACT NO. 428
ACCORDING TO MAP THEREOF NO. 10373 FILED IN THE OFFICE OF THE COUNTY RECORDER OF SAN DIEGO COUNTY,
CALIFORNIA, ON APRIL 14, 1982, AS SET FORTH IN THE CONDOMINIUM PLAN HEREINAFTER REFERRED TO.
EXCEPTING THEREFROM THE FOLLOWING:

~A- ALL LIVING UNITS AS SHOWN UPON AND DEFINED [N THE FIRST SUPERSEDING ROCK SPRINGS WEST
CONDOMINIUM PLAN RECORDED IN THE OFFICE OF THE COUNTY RECORDER OF SAN DIEGO COUNTY, CALIFORNIA
ON JANUARY 7, 1983 AS DOCUMENT NO. 83-006355.

-B- THE RIGHT OT POSSESSION OF ALL THOSE AREAS DESIGNATED AS EXCLUSIVE USE AREAS, SHOWN UPON THE
CONDOMINIUM PLAN REFERRED TO ABOVE.

INTEREST 2:

LIVING UNIT NO. 212, AS SHOWN UPON THE CONDOMINIUM PLAN REFERRED TO ABOVE,

INTEREST 3:

THE EXCLUSIVE RIGHT TO USE, POSSESSION AND CCCUPANCY OF THOSE-PORTIONS OF LOT 1 DESCRIBED IN

INTEREST | ABOVE, DESIGNATED AS EXCLUSIVE USE AREAS AND SHOWN UPON AND DEFINED IN THE
CONDOMINIUM PLAN REFERRED TO ABOVE AS BEING APPURTENANT TO INTERESTS | AND 2 ABOVE DESCRIBED,

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